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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

19700 Fairchild Road, Suite 280
I rvine, CA 92612

A true and correct copy of the foregoing document entitled (specify): Joinder of David Jason Sandoval to Debtor's
Objection to Proof of Claim No. 18 Filed by Trustees of National Elevator Ind. Benefit Plans will be served or was
served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
2/8/2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

    •   Counsel for SBA: Elan S. Levy elan.levey@usdoj.gov
    •   Counsel for US Trustee: Ron Maroko ron.maroko@usdoj
    •   Counsel for Debtor: Roksana D. Moradi-Brovia Roksana@rlunfirm.com; matt@rhmfirm.com; rosario@lufonfirm.com;
        sloan@rhmfinn.com; priscilla@rhmfirm.com; rebeca@rlunfirm.com; david@rhmfirm.com; susie@rhmfirm.com;
        max@rhmfirm.com; russ@rlunfnm.com
    •   Counsel for Elevator Union/Fund: Benjamin M. ODonnell bodonnell@gslaw.org; ecf@gslaw.org
    •   Former counsel for Debtor's principal, David Sandoval: R. Gibson Pagter gibson@ppilawyers.com;
        pagterandpenyisaacson@jubileebk.net
    •   Counsel for Ally Banlc Arvind Nath Rawal arawal@aisinfo.com
    •   Counsel for Debtor: Matthew D. Resnik Matt@rhmfirm.com; Roksana@rlunfnm.com; rosario@hrhmfnm.com;
        sloan@rhmfirm.com; priscilla@rlunfnm.com; rebeca@rhmfirm.com; david@rhmfirm.com; susie@rhmfirm.com;
        max@rlunfirm.com; russ@rhmfinn.com
    •   Subchapter V Trustee: Mark M. Sharf (TR) mark@sharflaw.com; C188@ecfbis.com; sharfl OOO@gmail.com
    •   Counsel for Elevator Union/Fund: Lamie A. Trakman lat@gslaw.org; paralegal@gslaw.org
    •   United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov

                                                                       D Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date) 2/8/2023, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

Honorable Sandra R. Klein                           Address Pursuant to Amended                         Address of Headquarters:
United States Bankruptcy Court                      Proof of Claim No. 18:                              Trustees of the Nat'I Elevator Ind.
Central District of California                      Trustee of the Nat'I Elevator Ind.                  Benefit 1 Plans
Edward R. Roybal Federal Building                   Benefit Plans                                       Attn: Robert Betts, Executive
and Courthouse                                      c/o Laurie A. Tratkman                              Director
255 E. Temple Street, Suite 15 82 /                 Gilbert & Sackman, A Law Corp.                      19 Campus Blvd., Suite 200
Courtroom 1575                                      3699 Wilshire Blvd., Suite 1200                     Newtown Square, PA 19073
Los Angeles, CA 90012                               Los Angeles, CA 90010

                                                                                       D    Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
                                                                        D Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 2/8/2023                Yanira Flores                                                          /s/ Yanira Flores
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
